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                     IN TH E U N ITED STATE S D IST RICT COU RT                ATROANOKE,VA
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                     FO R TH E W E STERN D ISTRICT O F W RGIN M
                             u auulsow suas olw slow                           Nw 28 2218
                                                                             LA .D         ICLERK
  KAREN J.GARRIS,                                                          :         CLERK
        Plaintiffy                               Case N o.5:17-cv-39

  V.

  933387 O N TARTO LTD .,etal.y
                                                 By: M ichaelF.U rbansld
        D efendants.                                    ChiefUnited StatesDistdctludge
                              M EM O R AN D U M O PIN IO N

        Thism attercom esbefore the courton Plaintiff'sm oéon in limine,Sled on

  N ovem ber9,2018,requeséng thatshebe allowed to ftlea supplem entalinterrogatory

  responseto m attersitw olving herleftankle,tightknee,and rightshoulder.Specifkally,

  PlaintiffrequestedpetmissiontoteséfyTftotheproximatecauseissuesregardingtheitjudes
  to herankle,rightknee,and rightshotzlder.''ECF No.92.On November12,Plaindf)
                                                                            fSled a
  supplem entalm em ozandum in supportofthe m odon,cidng Sllm nerv.Srnith,220 Va.226

  (1979)anditsprogenyto supportherrighttotesdfyastocausadon.ECFNo.96.Fozthe
  reasonsexplained below,Plaintiffsm odon isG RAN TED in pattand D E N IED in part.

        Stmm erheld thatm edicaltestim ony Tfisnotaprerequisiteto tecovezy ''and thatffthe

  testimonyoftheplninéffalone ...presented aju.
                                              tyissueasto causalconnecdon.''220Va.at
  226.Sum ner,however,wasdecided by theVirginia Suprem eCourt,and thusitsptinciples

  govern statelaw.Thiscouttisafederaldistdctcolxttwllich,when sitting in divetsity,appies

  statesubstandvelaw and fedeêalprocedurallaw.ErieR.R.v.Tom ldns 304 U.S.64 (1938).
  SeeStonehockerv.GeneralMotorsCo .587F.2d 151,154 (4th Cir.1978).TheFederal


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  RulesofEvidence ateffbeyond atgum ent''procedutaland thuscontrolunlessa state

  evidentiary rtzle eitherffem bodiesorisclosely tied to astate substandve policy.''H ottlev.

  Beech AircraftCo .,47F.3d106,109- 10(4thCir.1995).
         Thereisno conttolling authority concezning whetherSllm ner'spolicym eetsthis

  ctiteda.The couttneed notaddressthisquesdon.Slzm netrequitesonly thataplaindffbe

  pe= itted to teséfy facm ally asto whatthatplaindffexperienèed.220 Va.at226.Itdoesnot

  permittestim ony ofan expert,m edicalnature from alay plaindff,and Rule 701ofthe

  FederalRulesofEvidence disallowsany evidence from alay witnessbased on ffsciendhc,

  technical,orotherspecialized knowledge.''Fed.R.Evid.701.

         PlaindffK aren G ardsm aytesdfyto theApril22,2015 collision,whatshe

  experienced during and aftertlniscollision,hetphysicalstatebeforethecollision,and the

  pnin she experienced after.Shem ay say thatshe had no pain beforethe collision and

  expedenced pain followingit.Shem ay notofferany tesdm ony attem pdng to show m edical

  causadon.

         An appropziate orderwillbe entezed tbisday.



                                               Entered:N ovember27,2018
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                                               Chief nited StatesDisttictludge                -.,.--.
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